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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 NORTHERN DIVISION
                                    AT COVINGTON

  CIVIL ACTION NO. 12-217-DLB-JGW

  ELLEY A. LOPREATO, ET AL.                                                      PLAINTIFFS


  vs.                     MEMORANDUM OPINION AND ORDER


  SELECT SPECIALTY HOSPITAL-NORTHERN KENTUCKY, LLC
  d/b/a SELECT SPECIALTY HOSPITAL, ET AL.                                     DEFENDANTS


                               **********************

         Defendants Select Specialty Hospital-Northern Kentucky, LLC d/b/a Select Specialty

  Hospital and Select Medical Corporation1 (collectively, “Select”) move for summary

  judgment as to the instant claim of disability discrimination brought pursuant to the ADA by

  Elley A. Lopreato and Susan M. Taylor (collectively, “Plaintiffs”). Applying the McDonnell

  Douglas framework, Select argues that Plaintiffs are unable to satisfy certain required

  elements of their prima facie case, particularly, the existence of a disability and Select’s

  knowledge thereof. In the alternative, Select argues that its adverse employment decision

  was based on a neutral hiring policy, which Plaintiffs have failed to prove (or even allege)

  was a pretext for unlawful discrimination. The Court has federal question subject matter

  jurisdiction over this action pursuant to 28 U.S.C. § 1331.




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          Select Specialty Hospital-Northern Kentucky, LLC d/b/a Select Specialty Hospital is a
  subsidiary of Select Medical Corporation.

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  I.     Factual and Procedural Background

         This case revolves around Select’s decision not to hire Lopreato or Taylor as nurses

  at its facility in northern Kentucky. When Select made this decision, Plaintiffs allege they

  were disabled within in the meaning of the ADA based on chemical dependency issues,

  discussed more fully below. Plaintiffs contend that Select’s decision was motivated, at least

  in part, by their respective disabilities.

         1.      Elley Lopreato

         Lopreato was licensed by the Kentucky Board of Nursing (“KBN”) as a registered

  nurse in June 1999, and began her career working in the ICU at St. Elizabeth Hospital (“St.

  Elizabeth”) (Doc. #52 at 6). In 2005, Lopreato transferred to the radiography unit, where

  she worked for approximately two years before St. Elizabeth discovered that she was

  stealing controlled substances for personal use. (Id.) Specifically, Lopreato was abusing

  a narcotic called fentanyl, which she had been diverting from her patients for several

  months. As a result, St. Elizabeth fired Lopreato in June 2007. (Id. at 7).

         Shortly thereafter, Lopreato entered the Kentucky Alternative Recovery Effort for

  Nurses program (“KARE”), which is administered by the KBN. (Id.) KARE aims to

  rehabilitate nurses with chemical dependency issues, enabling them to return to competent

  and safe practice. (Doc #1 at 4-5). Nurses who wish to participate must expressly admit to

  “being a chemically dependent individual.” (Doc. # 37-2 at 9). Additionally, participants must

  voluntarily enter into an agreement with KARE, which mandates absolute and continuing

  sobriety, in addition to a host of other evaluation, treatment, and drug testing requirements.

  (Doc. #1 at 5). In order to graduate, participants must adhere to the KARE program for no

  less than five (5) years. (Id.)

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         Lopreato enrolled in KARE to prevent more severe disciplinary action after the

  incident with St. Elizabeth. (Doc. # 52 at 14). Nevertheless, in connection with her program

  agreement, Lopreato’s nursing license became subject to certain restrictions. (Id.) For an

  initial period, she was prohibited from working as a nurse in any manner. (Doc. # 37-2 at

  9). This restriction was curtailed over time, and Lopreato was eventually permitted to work

  under limited circumstances, so long as her employer agreed to provide some level of

  supervision or monitoring. For instance, Lopreato could only administer narcotics if a doctor

  or nurse was available to assist. (Doc. # 37-2 at 20)

         In November 2008, Lopreato began working for Cardinal Hill Specialty Hospital

  (“Cardinal Hill”), which operated a long-term acute care hospital (“LTACH”) on the campus

  of the St. Elizabeth Medical Center in northern Kentucky. (Doc. # 52 at 7). Lopreato was

  still participating in KARE at this time, so her performance at Cardinal Hill was monitored

  by the KARE coordinators and she remained subject to the conditions of her program

  agreement. (Id. at 8). Lopreato was supervised by Cardinal Hill’s Clinical Director, Theresa

  Schneider-Eubank, who knew of Lopreato’s involvement with KARE and assisted whenever

  necessary to ensure her program requirements were satisfied. (Id. at 7). Lopreato remained

  at Cardinal Hill until the facility was taken over by Select in December 2011. (Id. at 7-8).

         2.     Susan Taylor

         Taylor was licensed by the KBN as a registered nurse in March 1993 and also began

  her career at St. Elizabeth. (Doc. # 52 at 8). Taylor worked on the surgical floor until

  approximately 1998, and then transferred to the Hospice unit, where she remained for

  several years. (Id.) Beginning in 2006, Taylor, who suffered from depression, began

  stealing morphine, methadone and vicodin. (Id.) In May 2007, she failed a drug test and

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  admitted to diverting her patients’ “wasted” medications for personal use. (Id.) As a result,

  St. Elizabeth immediately terminated her employment. (Id.)

         Like Lopreato, in order to avoid losing her nursing license, Taylor enrolled in the

  KARE program. (Id.) She too admitted to being chemically dependent and entered into an

  agreement with KARE that involved similar evaluation, treatment, and drug testing

  requirements. (Doc. 38-1 at 24, 30). Based on her participation in KARE, Taylor also had

  various restrictions imposed upon her license, which were lessened over time as she

  progressed within the program. (Id.)

         In March 2011, Taylor was hired by Cardinal Hill based on Lopreato’s

  recommendation. (Doc. # 52 at 10). Taylor was still participating in KARE at this time, so

  her performance at Cardinal Hill was monitored by the KARE coordinators and she

  remained subject to the conditions of her program agreement. (See Doc. 38-1 at 30).

  Taylor was supervised at Cardinal Hill by Schneider-Eubank, who knew of Taylor’s

  obligations to KARE and assisted whenever necessary to ensure her program requirements

  were satisfied. (Doc. # 52 at 16). Taylor remained at Cardinal Hill until around December

  2011, when Select took over the facility. (Id. at 17),

         3.     Cardinal Hill Closes and Select Takes Over the LTACH

         In August 2011, Cardinal Hill decided to close its St. Elizabeth location. (Doc. #1 at

  5). Around the same time, Select announced that it would take over the Cardinal Hill facility,

  which would continue to function as an LTACH under Select’s ownership. (Id.) Over the

  following months, Cardinal Hill began winding down operations, and therefore made

  significant reductions to its workforce. (Id.) However, until the transition was complete,

  Select asked Cardinal Hill to keep enough employees on staff to support a limited patient

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  population. (Doc. # 52 at 16). Schneider-Eubank handled those staffing decisions, and

  Lopreato and Taylor were among the employees that she chose to retain. (Id. at 17).

         By the end of the year, Select had finished its due diligence and was nearly ready

  to take over the LTACH. (Id.) As part of the final transition, Select considered several of the

  remaining Cardinal Hill nurses for continued employment. (Id.) When human resources

  personnel at Select inquired about Lopreato and Taylor, Schneider-Eubank opined that

  both women had an outstanding work history and were among her top performing nurses.

  Lopreato and Taylor submitted an application with Select, and both were given an

  opportunity to interview in December 2011.

         Select’s employment application included the following question: “Have you ever had

  your professional license restricted, suspended or terminated, or is your professional

  license currently under an investigation or review that could result in one of these actions?

  If yes, please explain.” (Id. at 18). Lopreato and Taylor provided the same response,

  answering “yes” to the question, and writing in the provided explanation space “2007-no

  current restrictions.” (Id.) Yet, at the time Lopreato and Taylor completed their applications,

  both were restricted by their program agreements from working more than 88 hours in two

  weeks or working a night shift without continuous supervision. (Doc. # 37-2 at 20; Doc. 38-

  1 at 35). Both were also limited in their ability to administer narcotics. (Id.)

         4.     Select Decides not to hire Lopreato or Taylor

         On December 6, 2011, Lopreato interviewed with Tammy Sparks, Select’s Regional

  Human Resources Director. (Doc. # 52 at 18). Their discussion eventually shifted to

  Lopreato’s application and her answer to the question about past or current licensing

  restrictions. (Id. at 19). Lopreato told Sparks that she enrolled in the KARE program after

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  leaving St. Elizabeth, and that she was scheduled to graduate in six (6) months. (Id.)

  Lopreato also explained that she was in KARE because she was sick and had family

  issues, but that she was nonetheless capable of performing her job duties. (Id.) However,

  Lopreato never specifically disclosed that her participation in KARE resulted from prior drug

  use, and Sparks made no further inquiries on this topic. (Id. at 19-20). Following her

  interview, Select did not contact Lopreato again about a nursing position at the LTACH. (Id.

  at 17).

            On December 8, 2011, Taylor also interviewed with Sparks. Again, the conversation

  eventually turned to Taylor’s answer on the application regarding licensing restrictions. (Id.)

  Taylor recalls telling Sparks that she was in “recovery,” through KARE, and that she was

  scheduled to graduate in July. (Id.) Sparks congratulated Taylor on her progress, but she

  did not inquire as to what Taylor was in recovery for, nor did she ask about the nature of

  the KARE program. (Id. at 18-20). After the interview, Select did not follow up with Taylor

  regarding prospective employment. (Id. at 17).

            Schneider-Eubank was under the impression that Select would retain all of the

  Cardinal Hill nurses she recommended for employment (Id. at 16). Thus, when she learned

  that Plaintiffs would not be hired, she attempted to intercede on their behalf by approaching

  Ms. Pat Alexander, Division Director of Clinical Services at Select. (Doc. # 52 at 20).

  Schneider-Eubank explained to Alexander that Lopreato and Taylor “were very good

  nurses, that they were in the process of completing their KARE program . . . [and that] that

  their evaluations were exemplary.” (Id. at 21). She further insisted that KARE was a “very

  comprehensive program.” (Id.). However, Schneider-Eubank never disclosed that Plaintiffs

  were in KARE as a result of drug abuse issues. (Doc. # 39 at 108). Alexander

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  communicated this information to her superiors at Select, but they told her that Lopreato

  and Taylor would not be hired due to recidivism concerns. (Doc. # 52 at 21).2

         At the time these decisions were made, Mary Burkett was Select's Vice President

  of Clinical and Quality for the Inpatient Division. (Doc. # 52 at 22). Though Burkett initially

  denied having authority to unilaterally reject potential applicants, she later admitted that she

  “approved the decision not to hire Elley Lopreato and Susan Taylor for employment with

  Select.” (Id.); (Doc. # 43-1 at 4, ¶ 9). In support of her decision, Burkett stated, “[i]t was my

  understanding that they both had restrictions on their license. It was my understanding that

  they had diverted drugs at a prior employer.” (Id.) Burkett denies ever being told or

  otherwise having reason to know of Plaintiffs’ issues with drug abuse or that Plaintiffs

  claimed to have any manner of disability. (Id. at 4, ¶ 10). In fact, she denied knowing or

  believing that Plaintiffs ever used drugs at all, testifying that in her experience diverted

  drugs are just as likely to be resold, given to family members, or used for recreational

  purposes. (Id.) She also claimed to be unaware that KARE was designed to rehabilitate

  chemically dependent nurses. (Doc. # 40 at 24-25).

         Burkett's decision not to hire Plaintiffs was consistent with Select’s hiring policy.

  According to Burkett, LTACHs “provide highly specialized care to promote recovery from

  the most critical and medically-complex patients.” (Doc. # 43-1 at 2, ¶ 4) The majority of

  LTACH patients have been prescribed narcotics, and because the patient is usually

  incapacitated, LTACH nurses are often required to interact with family members, many of


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            In her deposition, Schneider-Eubank testified that Alexander relayed statements to her
  such as, “. . . we have too much recidivism,” and “. . . still no. Too much recidivism.” (Doc. # 39 at
  64-67). The identity of the corporate employee who made these statements is unknown, but
  Plaintiffs believe it was Mary Burkett. (Id. at 66); (Doc. # 52 at 21).

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  whom are experiencing severe grief or even shock as a result of their loved one’s accident.

  (Id.) Due to these factors, the LTACH environment is highly demanding, and thus nurses

  “must be qualified to operate independently, without constant direct supervision.” (Id. at 3,

  ¶ 5). As a result, Burkett submits that “it is Select’s practice to not hire nurses who have

  current or previous restrictions or disciplinary action on their license.” (Id. at 3, ¶ 6).

         Burkett emphasizes that “[a] nurse may be subject to disciplinary action or

  restrictions for many different reasons, ranging from patient abuse, poor patient care, or

  drug diversion,” and that “Select’s practice is the same regardless of the reason for the

  disciplinary action or restriction.” (Id.) Burkett also observes that in Select’s experience

  "individuals who had engaged in past misconduct were likely to repeat misconduct." (Id.

  at 3, ¶ 7). And with its relatively small staff size, recidivism is a major concern because

  Select does not have the "resources to provide extra monitoring to ensure such

  misconduct, whether it be patient abuse, theft of drugs or other misconduct, not recur." (Id.)

         5.     Lopreato and Taylor File This Lawsuit

         Plaintiffs insist that their history of drug abuse constitutes a disability within the

  meaning of the ADA. Believing that Select had discriminated against them on the basis of

  their disabilities, Lopreato and Taylor both filed charges with the EEOC. (Doc. # 1-5; Doc.

  # 1-6). After receiving their right to sue notices, they initiated this lawsuit on October 26,

  2012. (Doc. #1). In Count One, Plaintiffs allege that: (1) “they each have a chemical

  dependency constituting a physical and/or mental impairment that substantially limits one

  more major life activities”; (2) they were “otherwise qualified” for the positions in question;

  (3) Select “had actual or constructive knowledge of Plaintiffs’ Disability”; and (4) they were

  discriminated against in violation of the ADA when Select refused to hire them based on

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  their “Disability, record of a Disability, and/or because [Select] perceived [them] to be

  Disabled.” (Id. at 11-12). In Count Two, Plaintiffs bring a separate claim for punitive

  damages. (Id. at 13).

  II.    Analysis

         1.     Standard of Review

         Summary judgment is appropriate when there is no genuine dispute as to any

  material fact and the movant is entitled to judgment as a matter of law. Fed. R. Civ. P.

  56(a). If there is a dispute over facts that might affect the outcome of the case under

  governing law, then entry of summary judgment is precluded. Anderson v. Liberty Lobby,

  Inc., 477 U.S. 242, 248 (1986). The moving party has the ultimate burden of persuading

  the court that there are no disputed material facts and that he or she is entitled to judgment

  as a matter of law. Id. Once a party files a properly supported motion for summary

  judgment by either affirmatively negating an essential element of the non-moving party’s

  claim or establishing an affirmative defense, “the adverse party must set forth specific facts

  showing that there is a genuine issue for trial.” Id. at 250. “The mere existence of a

  scintilla of evidence in support of the [non-moving party’s] position will be insufficient; there

  must be evidence on which the jury could reasonably find for the [non-moving party].” Id.

  at 252.

         2.     The McDonnell Douglas Burden Shifting Framework

         The ADA prohibits discrimination “against a qualified individual on the basis of

  disability in regard to job application procedures, the hiring, advancement, or discharge of

  employees, employee compensation, job training, and other terms, conditions, and



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privileges of employment.” 42 U.S.C. § 12112(a) (emphasis added). In order to state a

claim for disability discrimination under the ADA, a plaintiff may provide either direct or

indirect evidence of discriminatory treatment. Johnson v. Kroger Co., 319 F.3d 858, 864-65

(6th Cir. 2003). Direct evidence allows the fact finder to conclude, without drawing any

inferences, that the employer’s actions were motivated by unlawful discrimination. Id. at

865. For example, a facially discriminatory employment policy would constitute direct

evidence, as would an employer’s statement of intent to terminate an employee based on

a qualified disability. Id. The allegations here do not involve such blatantly discriminatory

acts, and thus Plaintiffs are unable to support their claims using direct evidence.

       Where direct evidence is unavailable, a plaintiff may present indirect evidence by

employing the burden-shifting framework adopted in McDonnell Douglas Corp. v. Green,

411 U.S. 792 (1973). Id. at 866.3 The first step under this framework is to demonstrate a

prima facie case of discriminatory treatment, which requires the plaintiff to prove the

following elements: (1) he is disabled within the meaning of the ADA; (2) he is otherwise

qualified for the position in question, with or without reasonable accommodation; (3) he

suffered an adverse employment decision; (4) the employer knew or had reason to know

of his disability; and (5) the position remained open while the employer sought other




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          Plaintiffs do not cite any caselaw in either their complaint or response. As a result, the
Court was required to surmise the legal posture of Plaintiffs’ claim based on the structure of their
arguments, as well as certain references Plaintiffs made to Select’s motion, which was organized
in terms of the applicable authority. In doing so, the Court finds that Plaintiffs’ claim clearly tracks
the McDonnell Douglas burden-shifting framework, and is therefore based on a theory of disparate
treatment. See Dunlap v. Tennessee Valley Auth., 519 F.3d 626, 629-30 (6th Cir. 2008)
(distinguishing between claims of disparate impact and disparate treatment, and emphasizing that
the McDonnell Douglas framework applies to the latter).

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applicants or the plaintiff was replaced. Whitfield v. Tennessee, 639 F.3d 253, 259 (6th Cir.

2011).

         Once the plaintiff establishes his prima facie case, the burden shifts to the defendant

to demonstrate evidence of a legitimate, nondiscriminatory reason for its adverse

employment decision. Kocsis v. Multi-Care Mgmt., Inc., 97 F.3d 876, 883 (6th Cir. 1996)

(citing McDonnell Douglas, 411 U.S. at 802). If the defendant satisfies this burden, the

plaintiff “must then prove by a preponderance of the evidence that the defendant’s

proffered reasons were not its true reasons, but were merely a pretext for illegal

discrimination.” Id. (internal quotations and citation omitted). In other words, the plaintiff

“must produce enough evidence that a jury could reasonably reject the employer’s

explanation for its decisions.” Id.

                a.     Lopreato and Taylor’s Prima Facie Case

         In its motion for summary judgment, Select argues that Plaintiffs have failed to

establish both the first and fourth elements of their prima facie case. (Doc. # 43 at 8). As

to the first element, the ADA provides that an individual is considered to have a disability

if: (1) he has a physical or mental impairment that substantially limits a major life activity

(the “actual disability” prong), (2) he has a record of such an impairment (the “record of”

prong”), or (3) others regard him as having such an impairment (the “regarded as” prong).

42 U.S.C. § 12102(1); 29 C.F.R. § 1630.2(g)(2).4 ADA regulations make clear that in order


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           Plaintiffs insist that their claims are actionable under all three prongs. (Doc. #1 at 11, ¶
54). However, Select argues that Plaintiffs are limited to the “record of” prong because they failed
to specifically reference either of the other two prongs in their EEOC charge forms. Our sister
circuits have found that “the decision whether to admit or exclude administrative findings, such as
EEOC investigation matters, is properly left to the sound discretion of the trial court.” Doss v.
Frontenac, 14 F.3d 1313, 1318 (8th Cir. 1994). Thus, having noted that the EEOC charge form

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to satisfy the first or second prong, a plaintiff must not only demonstrate that he has a

physical or mental impairment, but also that the impairment affected a major life activity,

and did so in such a way as to constitute a substantial limitation. See id. § 1630.2(g)(3)

(providing that an actual disability or a record thereof “require a showing of an impairment

that substantially limits a major life activity or a record of a such an impairment”).

       For present purposes, drug abuse can certainly qualify as a physical or mental

impairment. MX Grp., Inc. v. City of Covington, 293 F.3d 326, 336 (6th Cir. 2002). This is

true even for individuals such as Lopreato and Taylor, who “have successfully completed

or are participating in a supervised drug rehabilitation program and are no longer using

illegal drugs.” Hernandez v. Hughes Missile Sys. Co., 362 F.3d 564, 568 (9th Cir. 2004)

(citation omitted). As to what qualifies as a major life activity, the ADA regulations include

a broad listing of examples, and the activities pled by Lopreato and Taylor – learning,

concentrating, thinking, communicating, and working – are included within that listing. 29

C.F.R. § 1630.2(i)(1)(i); (Doc. #1 at 11, ¶ 54). Thus, with respect to the first two prongs, the

only remaining issue is whether Plaintiffs have established a substantial limitation.

       An impairment qualifies as a disability within the meaning of the ADA “if it

substantially limits the ability of an individual to perform a major life activity as compared

to most people in the general population.” Id. § 1630.2(j)(1)(ii) (emphasis added). Plaintiffs

contend that being terminated by St. Elizabeth demonstrates a substantial limitation




does not specifically refer to any of the above prongs, but merely requires the complainant to check
“disability” as the general category of discrimination, the Court will consider all three prongs of
disability as alleged in Plaintiffs’ complaint. (Doc. # 1-5).

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regarding their ability to work. (See Doc. # 52 at 28).5 They also rely heavily on the

testimony of Dr. Butler, who describes their drug abuse as a “kind of global impairment in

judgment that was impacting their lives in a variety of circumstances.“ (Doc. # 51-1 at 194).

However, the Court finds that Plaintiffs’ depositions tell another story altogether. Lopreato

testified that fentanyl did not hinder her ability to concentrate or communicate, or negatively

affect the level of patient care she provided. She testified further that using fentanyl did not

impair her ability to care for herself or her children, complete household chores, or pursue

her master’s degree. (See Doc. # 37 at 65-69). Taylor made similar statements regarding

the effects of her own drug use. (See Doc. # 38 at 13, 55-56, 67-68). Considering this

testimony, the Court has serious doubts that Plaintiffs’ alleged impairments ever rose to the

level of a substantial limitation.

       The third disability prong involves a completely different standard. A person is

“regarded as” having a disability if he “is subjected to a prohibited action because of an

actual or perceived physical or mental impairment, whether or not that impairment

substantially limits, or is perceived to substantially limit, a major life activity.” Id. §

1630.2(j)(1)(ii). The ostensible advantage of this prong is that a plaintiff can be considered

disabled without having an actual disability, so long as the employer perceives the plaintiff

as having some manner of physical or mental impairment. Even under this somewhat

relaxed standard, the Court is rather skeptical that Plaintiffs can proceed with their claims.


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         Seeing as both Lopreato and Taylor later found comparable positions at Cardinal Health,
despite Schneider-Eubank being aware of their histories with drug abuse, the Court finds that being
terminated by St. Elizabeth, by itself, falls well short of establishing a substantial limitation. See
Wolfe v. U.S. Steel Corp., 567 F. App'x 367, 371 (6th Cir. 2014) (“When working is the affected
major life activity, the statutory phrase ‘substantially limits’ requires, at a minimum, that plaintiff
allege that he is unable to work a broad class of jobs.”).

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While Lopreato and Taylor insist they were regarded as being disabled due to their

involvement with KARE, the Court observes that Select never inquired as to why they were

made to participate in this program. Schneider-Eubank testified that she did not divulge this

information to anyone at Select, and, when asked, she provided nothing but positive

feedback regarding Plaintiffs’ competence as nurses.

       The fourth element under McDonnell Douglass asks whether Select knew or had

reason to know of Plaintiffs’ alleged disabilities. In the Court’s opinion, this question is

tantamount to asking if Select perceived Lopreato and Taylor as having an impairment at

the time of their interviews. Thus, based on the same facts and arguments that were used

to address the “regarded as” prong, the Court is equally doubtful that Plaintiffs can satisfy

the fourth element of their prima facie case.

       If the standard on summary judgment merely asked which party has made a more

convincing argument, then Select would undoubtedly prevail on the issues discussed

above. However, what the Court must actually decide is whether there is any evidence

upon which a reasonable juror could find that Plaintiffs have established the challenged

elements of their prima facie case. Admittedly, this is a more difficult question, and it is

complicated further by the 2008 amendments to the ADA, which appear to have relaxed

the burden of demonstrating a qualified disability.6 Therefore, following the Sixth Circuit’s

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         The ADA regulations now provide that “[t]he term ‘substantially limits’ shall be construed
broadly in favor of expansive coverage, to the maximum extent permitted by the terms of the ADA.”
29 C.F.R. § 1630.2(j)(1)(i). Clearly, the purpose of such language is to ensure that more
impairments are found to qualify as a substantial limitation; yet, the regulations also leave room for
exceptions. “Nonetheless, not every impairment will constitute a disability within the meaning of this
section.” Id. § 1630.2(j)(1)(ii). While the Court strongly believes that the case at hand involves
exactly the type of circumstances that would warrant such an exception, it is difficult to know for
sure given the remarkable lack of authority in the Sixth Circuit and elsewhere interpreting these
recently amended provisions.

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approach in Bailey v. Real Time Staffing Servs., Inc., the Court finds it appropriate to defer

these issues for now and look ahead to the remaining aspects of McDonnell Douglas.7

After all, Select has clearly pled a neutral reason for its adverse employment decision. And

if Plaintiffs have failed to rebut this reason with sufficient evidence of pretext, which

certainly appears to be the case, the Court can grant Select’s motion for summary

judgment on this basis alone.

               b.      Select’s Legitimate, Nondiscriminatory Reason

       Select maintains that its decision was based on the company practice of not hiring

nurses with any manner of past or current licensing restriction. The United States Supreme

Court considered whether a similar hiring policy qualified as a legitimate, nondiscriminatory

reason in Raytheon Co. v. Hernandez, 540 U.S. 44 (2003). There, Hernandez was forced

to resign from Hughes Missile Systems (“Hughes”) after failing a drug test. Id. at 46-47.

Two years later, he reapplied for his previous position, submitting a letter from his sponsor

at Alcoholics Anonymous (“AA”) along with his employment application. Id. Upon learning

that Hernandez was a former employee, labor relations employee Joanne Bockmiller pulled

his personnel file and reviewed the employee separation summary, which stated generically

that Hernandez had been discharged for workplace misconduct. Id. Bockmiller rejected his

application immediately, testifying that it was company policy not to rehire employees who

were previously terminated for any violation of workplace conduct rules. Id.




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         See 543 F.App’x 520, 523-24 (6th Cir. 2013) (finding it was unnecessary to resolve
whether the plaintiff had stated a prima facie case because “it is apparent that [the plaintiff] cannot
overcome Real Time’s proffered legitimate reason for firing him.”).

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       Applying the McDonnell Douglas framework, the Ninth Circuit had ruled that

Hughes’s no-rehire policy was not a neutral basis for denying Hernandez’s application. Id.

at 51. While conceding that such a policy was lawful on its face, the court found:

               [m]aintaining a blanket policy against rehire of all former employees
       who violated company policy not only screens out persons with a record of
       addiction who have been successfully rehabilitated, but may well result . . .
       in the staff member who makes the employment decision remaining unaware
       of the “disability” and thus of the fact that she is committing an unlawful act
       . . . . Accordingly, Hughes's unwritten policy is not a ‘legitimate,
       nondiscriminatory reason’ for its rejection of Hernandez's application.

Hernandez v. Hughes Missile Sys. Co., 298 F.3d 1030, 1036 (9th Cir. 2002). On appeal,

the Supreme Court reversed, reasoning that the Ninth Circuit “erred by conflating the

analytical framework for disparate-impact and disparate-treatment claims.”8 Hernandez,

540 U.S. at 51. The Court further observed that Hernandez had not timely pled a

disparate-impact claim, as it was first raised in his response to the Hughes’s motion for

summary judgment. Id. at 49. The Court held that had the Ninth Circuit properly applied the

disparate-treatment framework, “it would have been obliged to conclude that a neutral

no-rehire policy is, by definition, a legitimate, nondiscriminatory reason under the ADA.” Id.

at 51. Accordingly, the case was remanded with instructions to proceed to the next step

within the McDonnell Douglas framework.

       Here, Plaintiffs also argue that Select has failed to offer a legitimate,

nondiscriminatory reason for its adverse employment decision. Plaintiffs’ rationale is


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          The Court explained the distinction between these claims, stating, “Liability in a
disparate-treatment case depends on whether the protected trait . . . actually motivated the
employer's decision . . . [whereas] disparate-impact claims involve employment practices that are
facially neutral in their treatment of different groups but that in fact fall more harshly on one group
than another and cannot be justified by business necessity.” Id. at 52. (internal quotations and
citations omitted).

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remarkably similar to the Ninth Circuit’s reasoning in Hernandez, in that Plaintiffs appear

to base their position primarily on the disparate-impact of Select’s hiring practice. For

example, in their response, Plaintiffs contend that “if Select’s ‘neutral policy’ were allowed

and/or sanctioned to be legitimate, and other similarly situated hospitals and/or medical

practices adopted the same policy, then and in that event, those licensees that have gone

through an ‘alternative recovery program’ could never practice any mainstream

environment.” (Doc. # 52 at 30). Plaintiffs also appear to challenge the business rationale

of Select’s hiring policy, refuting the proposition that nurses who require supervision due

to licensing restrictions are ill-suited to work in the LTACH environment. (Id. at 31-36).9

       However, as the Court in Hernandez observed, such disparate-impact arguments

are not applicable at any stage within the McDonnell Douglas framework. And thus,

Hernandez is instructive for at least two reasons. First, given the similarity between

Hughes’s no-rehire policy and Select’s practice of employing only those nurses with a clean

license, the Court finds that Select has also demonstrated a legitimate, nondiscriminatory

reason for its adverse employment decision. Second, by holding that untimely claims of

disparate impact have no bearing on a case which is clearly premised on allegations of

disparate treatment, the Hernandez decision also allows this Court to disregard Plaintiffs’

arguments above. Accordingly, the Court will proceed to the final aspect of the McDonnell



       9
         For reasons explained above, the Court has been required at times to surmise the legal
posture of Plaintiffs’ arguments. See supra n. 3. In this instance, the Court finds that the arguments
contained in Plaintiffs’ response from pages 29 to 36 demonstrate an attempt to prove the disparate
impact of Select’s policy by showing its negative effect on a particular group (nurses in a drug rehab
program) and by challenging its underlying business necessity. Because Plaintiffs’ complaint only
alleges a claim based on disparate treatment, see id., such arguments are untimely pursuant to
Hernandez.

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Douglas framework: whether Select’s legitimate hiring policy was merely a pretext for illegal

discrimination.

              c.     Evidence of Pretext

       To reiterate, a plaintiff’s burden at the pretext stage is to prove by a preponderance

of the evidence that a jury could reject the employer’s neutral explanation for its adverse

decision. Kocsis, 97 F.3d at 883. “That is, the plaintiff may attempt to establish that he was

the victim of intentional discrimination by showing that the employer's proffered explanation

is unworthy of credence.” Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 143

(2000) (citation and internal quotations omitted). In determining whether this burden is met,

a court may consider the evidence used by the plaintiff to establish his prima facie case,

in addition to any other evidence, circumstantial or direct, proving that the employer’s

adverse decision was actually motivated by a protected disability. Hernandez v. Hughes

Missile Sys. Co., 362 F.3d 564, 568 (9th Cir. 2004).

       For example, on remand in Hernandez, the Ninth Circuit emphasized a position

statement written by the Manager of Diversity Development at Raytheon (the parent

company of Hughes) in response to the charges filed with the EEOC. Id. at 567. The

statement provided, in part, that “[Hernandez’s] application was rejected based on his

demonstrated drug use while previously employed and the complete lack of evidence

indicating successful drug rehabilitation.” Id. (emphasis added). The court also noted that

Joanne Bockmiller, who rejected the Hernandez application, not only received the AA letter

describing his recovery efforts, but also had access to his personnel file, containing the

results of his failed drug test. Id. at 569. The Ninth Circuit found that such circumstances



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were sufficient to raise genuine issues of material fact as to whether Hughes’s no-rehire

policy was merely a pretext for illegal discrimination. Id. at 568.

       By comparison, the evidence in this case is far less compelling.10 The strongest

argument, perhaps, is that Burkett admitted to knowing that Plaintiffs were fired from St.

Elizabeth for diverting controlled substances, and that such knowledge goes towards

establishing her discriminatory intent. Yet, even when construed in the light most favorable

to Plaintiffs, it would be a quite a stretch to infer from Burkett’s admission that she also

believed Plaintiffs were suffering from (or recovering from) a debilitating drug addiction, and

that this belief motivated her decision not to hire them. After all, the incidents with St.

Elizabeth each occurred more than four years before Plaintiffs’ interviews. Moreover,

Burkett testified that in her experience stolen drugs are just as likely to be resold, given to

family members, or used merely for recreational purposes.

       Another potentially helpful circumstance to Plaintiffs is that the KARE program was

mentioned during both of their interviews. However, the parties’ testimony demonstrates

that it was discussed only in passing. Sparks never inquired as to the nature of the program

or the reason that Plaintiffs’ participation was mandatory, and Schneider-Eubank testified

that she never disclosed this information to anyone at Select. More importantly, Sparks was

not provided with any documentation regarding Plaintiffs’ recovery efforts, such as letters



       10
          Though Plaintiffs have argued that Select failed to put forth a legitimate, nondiscriminatory
reason for its adverse decision, discussed supra, Plaintiffs have not argued, in any respect, that
Select’s policy was a pretext for unlawful discrimination. On this basis alone, the Court could
conclude that Plaintiffs have failed to satisfy their required burden under the McDonnell Douglas
framework. Yet, out of an abundance of caution, the Court has identified the evidence it believes
could have been offered to make this showing. For the reasons discussed below, the Court finds
this evidence is insufficient to withstand summary judgment.

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from the KARE coordinators or the results of any drug tests, as was the case in Hernandez.

In the Court’s view, Select’s interest in KARE, if any, was merely incidental to discovering

whether Plaintiffs’ nursing licenses were subject to any restrictions; once this was

confirmed, KARE was no longer relevant. (Doc. # 41 at 74-77, 87-88).

       One might possibly infer discriminatory intent from Select’s use of the word

“recidivism” in explaining why it would not hire Lopreato and Taylor. But the Court observes

that this term was used in a generic sense, which is consistent with Burkett’s testimony that

Select was concerned with recidivism as to all manner of licensing restrictions, whether

resulting from drug use, patient abuse, or any other form of misconduct. And when

compared with the position statement submitted to the EEOC in Hernandez, wherein

Hughes explained that the plaintiff was rejected based on his “demonstrated drug use,”

Select’s isolated use of the word “recidivism” is almost completely immaterial.

       There are also aspects of the policy itself showing that the proffered motivation for

Select’s adverse decision is worthy of credence. For instance, the employment applications

completed by Lopreato and Taylor both asked, “Have you ever had your professional

license restricted, suspended or terminated, or is your professional license currently under

investigation or review.” (Doc. 1-3 at 1). And after discussing her restrictions with Sparks

during the interview, Lopreato testified that she “definitely knew that there was something

wrong.” (Doc. #37 at 51). Thus, unlike in Hernandez, where the no-rehire policy surfaced

only after litigation had commenced, Select’s practice of not hiring nurses with a restricted

license was evident from the very beginning. The Court also finds that Select’s hiring policy

was justifiable under the circumstances. As Burkett explained, the LTACH environment is

very demanding, and Select cannot afford to employ nurses who require additional

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supervision in connection with any sort of licensing restriction. In the Court’s opinion, the

plausibility of this rationale, combined with the fact that Plaintiffs have been unable to

identify a single employee at Select with any manner of licensing restriction, strongly belies

any argument that the hiring policy at issue was merely a pretext for illegal discrimination.

       Finally, and somewhat surprisingly, Plaintiffs themselves seem convinced that

Select’s adverse employment decision was based upon the aforesaid hiring practice, and

not their alleged disabilities. In their response, Plaintiffs state:

       [i]n sum, the evidence clearly indicates the disqualification of Ms. Lopreato
       and Ms. Taylor as applicants for hire and/or retention at [Select] was based
       upon the parent corporation’s verbal ‘practice’ wherein all applicants who
       held healthcare licensure and had either active or prior restrictions were
       automatically disqualified without regard to ability, sobriety, or whether or not
       they were currently in a recovery program.

(Doc. # 52 at 13). Plaintiffs further observe that “[t]he only criteria in this circumstance was

whether or not Ms. Lopreato and Ms. Taylor had, or did have, a restriction on their

licensure.” (Id. at 20).

       The Court concludes that Select’s decision with respect to Lopreato and Taylor was

motivated by a neutral company policy not to hire nurses with any form of licensing

restriction. Plaintiffs’ claims of disability discrimination therefore fail as a matter of law, as

do their claims for punitive damages. Dalton v. Animas Corp., 913 F.Supp.2d 370, 378

(W.D. Ky. 2012) (“A claim for punitive damages is not a separate cause of action, but a

remedy potentially available for another cause of action.”).




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III.   Conclusion

       Accordingly, for the reasons stated herein,

       IT IS ORDERED as follows:

       (1)    Defendants’ Motion for Summary Judgment (Doc. # 43) be, and is hereby,

granted in full; and

       (2)    A Judgment shall be entered contemporaneously herewith.

       This 3rd day of December, 2014.




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